Case 2:05-Cv-02313-.]PI\/|-tmp Document 5 Filed 08/15/05 Page 1 of 2 Page|D 12

FILED BY m% D-C-

UDHTEI)SI4TES1HSTRFCT(RJURT
= h
WESTERN DISTRICT 0F TEJ\WEA>SEF§5 “"G '5 ‘°" 2 0

WESTERN DIVISION H>M‘\SM-§OULD

     
    

 

w fY;M§§MH§
THOMAS & BETTS coRPoRATIoN and
THOMAS ¢Sc BETTS INTER.NATIONAL, INC. JUDGMENT IN .A CIVIL CASE
vs
ARLINGTON INDUSTRIES, INC. cAsE No= 05-2313 Ml/P

 

Upon dismissal by the plaintiff:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order
Granting Voluntary Dismissal Without Prejudice filed August, }§r,
2005, this case is DISMISSED Without prejudice.

APPROVED :

z w‘~©&u

JON HIPPS MCCALLA
UN ED STATES DISTRICT COURT

f*“ r~
guy jj l 200 b THOMAS M. GOULD
Date(:/) Clerk of Court

 

 

 

 

 

(BY:?/Depé{y Clqu

exnwcomp“a"°e
g

T*n'\s ciom.)me"'f " ij ')

with 'Ru\e 53 an

dmnmmHWPW

 

 

UNITED`TATES DISTCRIT COURT- WESTNERDISTCRIT OFTi\INEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-023]3 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Jeremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

Memphis7 TN 38103

Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

